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7

8                    IN THE UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
9                             WESTERN DIVISION
10

11
                                                Case No. 2:18-CV-4839
      DEBORAH STRAITER,                         STIPULATION FOR DISMISSAL
12
                                                WITH PREJUDICE PURSUANT TO
                   Plaintiff,                   FED. R. CIV. P. 41(a)(1)(A)(ii)
13
      v.
14
      COMENITY BANK,
15
                   Defendant.
16

17

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21         PLEASE TAKE NOTICE that, pursuant to the settlement reached among
22   Plaintiff, Deborah Straiter, and Defendant, Comenity Bank, the parties hereby

23   stipulate, and jointly request, that the present proceeding be dismissed with

24
     prejudice. Each party is to bear its own attorneys’ fees and costs. Pursuant to Fed.

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                                   STIPULATION FOR DISMISSAL
                                             -1-
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1    R. Civ. P. 41(a)(1)(A)(ii), this matter may be dismissed with prejudice without an
2    Order of the Court.
3
     DATED: January 31, 2019              WESTGATE LAW
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5
                                          By:/s/ Matthew A. Rosenthal
                                                 Matthew A. Rosenthal
6                                                Attorneys for Plaintiff,
                                                 DEBORAH STRAITER
7

8
                                          CARLSON & MESSER LLP
9
                                          By:/s/ Michael Lavigne
10
                                                 Michael Lavigne
11                                               Attorneys for Defendant,
                                                COMENITY BANK
12

13                           SIGNATURE CERTIFICATION
14         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby certify that the content of
15   this document is acceptable to all counsel of record listed above, and that I have
16   obtained their authorizations to affix their electronic signatures to this document.

17                                         By:/s/ Matthew A. Rosenthal
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                                                 Matthew A. Rosenthal

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                                   STIPULATION FOR DISMISSAL
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